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 1   STROOCK & STROOCK & LAVAN LLP
     JULIA B. STRICKLAND (State Bar No. 083013)
 2   SHANNON E. DUDIC (State Bar No. 261135)
     GEOFFREY L. WARNER (State Bar No. 305647)
 3   2029 Century Park East
     Los Angeles, CA 90067-3086
 4   Telephone: 310.556.5800
     Facsimile: 310.556.5959
 5   Email:     lacalendar@stroock.com

 6   Attorneys for Defendants
      HSBC CARD SERVICES INC. and HSBC TECHNOLOGY &
 7    SERVICES (USA) INC.

 8                             UNITED STATES DISTRICT COURT
 9                          NORTHERN DISTRICT OF CALIFORNIA
10                                     SAN JOSE DIVISION
11
     NICKLAUS LAL, an individual                 )   Case No.   3:16-6674
12                                               )
                     Plaintiff,                  )   NOTICE OF REMOVAL OF
13                                               )   DEFENDANTS HSBC CARD SERVICES
            vs.                                  )   INC. AND HSBC TECHNOLOGY &
14                                                   SERVICES (USA) INC.
                                                 )
     CAPITAL ONE FINANCIAL                       )
15   CORPORATION, a corporation and as
     successor-in-interest and assignee of HSBC  )   [REMOVED FROM:
16   Card & Retail Services Inc. a/k/a HSBC Card )   MONTEREY SUPERIOR COURT
     Services Inc., a Delaware Corporation; HSBC )   CASE NO. 16CV002985]
17   CARD SERVICES INC., an entity of unknown )
     form; HSBC TECHNOLOGY & SERVICES )
18   (USA) INC., a Delaware Corporation; DOES 1 )
     through 25, inclusive,                      )
19                                               )
                     Defendants.                 )
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                                                                      1           TO THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT

                                                                      2   OF CALIFORNIA:

                                                                      3           PLEASE TAKE NOTICE THAT, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446,

                                                                      4   defendants HSBC Card Services Inc. (“Card Services”) and HSBC Technology & Services (USA)

                                                                      5   Inc. (“Tech Services,” and together with Card Services, “HSBC”) hereby remove the action entitled

                                                                      6   Nicklaus Lal v. Capital One Financial Corporation, et al., Monterey County Superior Court, State

                                                                      7   of California, Case No. 16-CV-002985 (the “Action”), to the United States District Court for the

                                                                      8   Northern District of California, on the following grounds:

                                                                      9           1.      Removal is Timely. On October 19, 2016, Plaintiff Nicklaus Lal (“Plaintiff”)
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                                                                     10   provided HSBC with Notices and Acknowledgements of Receipt of the Summons and Complaint

                                                                          (“Notices and Acknowledgments”). On November 4, 2016, HSBC timely provided Plaintiff with
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                                                                     12   executed Notices and Acknowledgements, affecting service of the Complaint. This Notice of

                                                                     13   Removal has been filed within thirty days of service of the Complaint on HSBC and is therefore

                                                                     14   timely under 28 U.S.C. § 1446(b). True and correct copies of the Complaint, Summons and

                                                                     15   executed Notices and Acknowledgements in the Action are attached hereto as Exhibit A.

                                                                     16           2.      Diversity Jurisdiction. This Court has original jurisdiction over the Action under 28

                                                                     17   U.S.C. § 1332(a) and the Action is removable to this Court by HSBC pursuant to 28 U.S.C. §

                                                                     18   1441(b). The Action is a civil action between citizens of different states and the matter in

                                                                     19   controversy exceeds $75,000, exclusive of interest and costs. See 28 U.S.C. 1332(a) (“[D]istrict

                                                                     20   courts shall have original jurisdiction of all civil actions where the amount in controversy exceeds

                                                                     21   the sum or value of $75,000 . . . and is between [] citizens of different States . . .”).

                                                                     22                   a.      Diversity of Citizenship Exists. A corporation is deemed to be a citizen of

                                                                     23   the state where it is incorporated and where it has its “principal place of business.” 28 U.S.C.

                                                                     24   § 1332(c)(1). Here, Plaintiff asserts that he is a resident of Monterey, California. (Compl. ¶ 7.)

                                                                     25   Card Services’ is incorporated in Delaware with its principal place of business is in Illinois. (See

                                                                     26   id. ¶ 9.) Tech Services is also a Delaware corporation with its principal place of business in

                                                                     27   Illinois. (Id. ¶ 10.) Defendant Capital One Financial Corporation (“Capital One,” and collectively

                                                                     28   with HSBC, “Defendants”) is a Delaware corporation with its principal place of business in

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                                                                      1   Mclean, Virginia. (Id. ¶ 8.) As indicated in the accompanying Notice of Consent to Removal,

                                                                      2   Capital One contends that Plaintiff erroneously sued Capital One Financial Corporation, and that

                                                                      3   Capital One, N.A. is the appropriate entity. As a national banking association, Capital One, N.A. is

                                                                      4   not a state-incorporated business, and its citizenship is governed pursuant to 28 U.S.C. § 1348, not

                                                                      5   28 U.S.C. § 1332. A national bank does not have a state of incorporation because it is organized

                                                                      6   under federal law pursuant to the National Banking Act. As a result of this unique organizational

                                                                      7   structure, Congress enacted a separate jurisdictional statute that addresses the citizenship of

                                                                      8   national banks. Under 28 U.S.C. § 1348, “[a]ll national banking associations shall, for the

                                                                      9   purposes of all . . . actions by or against them, be deemed citizens of the States in which they are
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                                                                     10   respectively located.” The Supreme Court has ruled that, for purposes of federal diversity

                                                                          jurisdiction, a nationally chartered bank is only a citizen of the state in which its main office is
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                                                                     12   located. Wachovia Bank, N.A. v. Schmidt, 546 U.S. 303, 307 (2006). Here, Capital One, N.A.’s

                                                                     13   headquarters are located in McLean, Virginia. As such, Capital One, N.A. is citizen of Virginia.

                                                                     14   Accordingly, diversity of citizenship exists between Plaintiff and Defendants.

                                                                     15                  b.      The Amount in Controversy is Satisfied. Additionally, by the allegations of

                                                                     16   the Complaint, the matter in controversy exceeds the $75,000 threshold. See 28 U.S.C. 1446(c)(2);

                                                                     17   Crum v. Circus Circus Enterprises, 231 F.3d 1129, 1131 (9th Cir. 2000) (“Generally, the amount in

                                                                     18   controversy is determined from the face of the pleadings.”). Where, as here, the “complaint does

                                                                     19   not contain any specific amount of damages sought, the party seeking removal under diversity

                                                                     20   bears the burden of showing, by a preponderance of the evidence, that the amount in controversy

                                                                     21   exceeds the statutory amount.” Lewis v. Verizon Commc’ns., Inc., 627 F.3d 395, 397 (9th Cir.

                                                                     22   2010).

                                                                     23                          i.      Based on Plaintiff’s allegations, the amount in controversy here

                                                                     24   includes, among other things, statutory damages in the amount of $5,000 for each alleged violation

                                                                     25   of California Penal Code sections 632 and 632.7 (“Sections 632 & 632.7”). (Compl. ¶¶ 36-46.)

                                                                     26   Plaintiff alleges that more than 300 of his personal telephone communications were recorded,

                                                                     27   monitored and/or eavesdropped upon by Defendants purportedly in violation of Sections 632 &

                                                                     28   632.7. (Id. ¶¶ 31-32.) Although HSBC denies any liability to Plaintiff and expressly reserves its

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                                                                      1   right to challenge any request for damages or computations thereof, Plaintiff’s request for damages

                                                                      2   nevertheless controls the amount in controversy. See Crum, 231 F.3d at 1131. Accordingly,

                                                                      3   because the Complaint requests statutory damages in the amount of $5,000 for each of the alleged

                                                                      4   300 violations, the amount in controversy is over $1,500,000 and therefore satisfies the $75,000

                                                                      5   threshold. 1

                                                                      6                          ii.     In addition to monetary relief, Plaintiff seeks injunctive relief.

                                                                      7   (Compl., Prayer for Relief, p. 18.) Such relief may properly be considered in determining the

                                                                      8   amount in controversy. See Hunt v. Washington State Apple Advertising Comm’n, 432 U.S. 333,

                                                                      9   347 (1977) (“In actions seeking declaratory or injunctive relief, it is well established that the
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                                                                     10   amount in controversy is measured by the value of the object of the litigation.”) (citations omitted).

                                                                          Plaintiff also seeks attorneys’ fees, which may be included in the amount in controversy
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                                                                     12   calculation. See Galt v. JSS Scandinavia, 142 F.3d 1150, 1156 (9th Cir. 1998). Combined with the

                                                                     13   total amount of purported statutory damages of $1,500,000 and other relief sought, the amount in

                                                                     14   controversy well exceeds $75,000.

                                                                     15           3.     Venue is Proper In This Court. This is the proper Court for removal because the

                                                                     16   Monterey County Superior Court is located within the United States District Court for the Northern

                                                                     17   District of California, San Jose Division. See 28 U.S.C. § 1441(a).

                                                                     18           4.     All Other Defendants Consent To Removal. All other defendants in this action

                                                                     19   consent to removal. The Notice of Consent to Removal executed by Capital One is attached hereto

                                                                     20   as Exhibit B. Accordingly, this action is properly removed pursuant to 28 U.S.C. § 1446(a) & (b).

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                                                                          1
                                                                           HSBC disputes that Plaintiff is entitled to $5,000 for each call recording purportedly in violation
                                                                     27   of Sections 632 & 632.7, and reserves its right to challenge Plaintiff’s statutory damage
                                                                          computations. Furman v. Station Casinos LLC, Case No. 56-2013-00446134-CU-BT-VTA (March
                                                                     28   11, 2014) (holding that Section 637.2 allows for statutory damages of $5,000 per action for each
                                                                          plaintiff, not per violation).
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                                                                      1           5.     Notice to Adverse Parties and State Court. Pursuant to 28 U.S.C. § 1446(d), this

                                                                      2   Notice of Removal will be served on Plaintiff, the only adverse party, simultaneously with this

                                                                      3   filing. Additionally, a duplicate copy of this Notice of Removal, without exhibits, will be filed

                                                                      4   with the Monterey County Superior Court Clerk.

                                                                      5

                                                                      6   Dated: November 17, 2016                      STROOCK & STROOCK & LAVAN LLP
                                                                                                                        JULIA B. STRICKLAND
                                                                      7                                                 SHANNON E. DUDIC
                                                                                                                        GEOFFREY L. WARNER
                                                                      8
                                                                                                                        By:      /s/ Shannon E. Dudic
                                                                      9
                                                                                                                                             Shannon E. Dudic
STROOCK & STROOCK & LAVAN LLP




                                                                     10
                                                                                                                        Attorneys for Defendants
                                Los Angeles, California 90067-3086




                                                                     11                                                       HSBC CARD SERVICES INC. and HSBC
                                                                                                                              TECHNOLOGY & SERVICES (USA) INC.
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